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                                                                                                                                                                                                           Scubey Sims
                                                                                                                                                                                                           October 11 , 2016 · Edited ·



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                                                               MH Progress Note

                                                                              Name: Sims, Steven
                                                                          Record No: 40170242
         J~v:ietroca:r·e                                                        DOB : 02/18/1970                     Age: 46
              Sf.RVlCF.S
                                                                    Attend/Clinician:   Scheen, Jeny
       Metrocare - the provider of choice
                                                                  Primary/Clinician: Askew, Alison
                                          ########                         RU/Dent.:    534             Lifenet Brid!!e Svcs


                    Procedure: 3993                MHOutreach
               Start/End Time: 12/9/16 10:00 am           to 12/9/16 10:30 am                                   Status:   Completed
             Billable Duration: 30    Type:        Minutes          POS: Office
                        CSPP: MH                     LIFENET             534                  SPA
                        Status: Completed and Signed
                     Clinician: Juana Acosta
                       Billing: Juana Acosta
                                               Contact With With individual at The Bridge, appropriately dressed, orientedx4, session
                                                            in English, denies si/hi and copsd: none
                                                 Metrocarey
                                                   Behavior Met with individual to refer, coordinate services. Individual doesnt meet
                                                            criteria for one of the diagnosis cover by northstar.
                                                Interv Resp Instructed individual on psychotherapy and providers (Dr. Brix, Susan
                                                            and Adres Moran) at parkland and the benefits of psychotheraphy. Cw
                                                            instructed individual on legal aid as well since states feel the hospital tried
                                                            to kill him and wants to figure out if they did or not. Cw instructed
                                                            individual on how to set an appointment, see the services refer to and how
                                                            they will benefits
                                                Prog Assess Mr. Sims states he appreciates the help becuase one of his goals is to get to
                                                            the bottom of things
                                                   Plan Rec Cw will assist individual as needed.
             Doc 14169759Electronically Signed on Dec 12 2016 10:59AMby AUTHOR Juana S. Acosta, M.A. , Title: Clinical
             Manager2
             OMS Staff 10 #: 201401




      Print Date: 01/25/2017                                                                                                            Page 1 of 1
            Case 3:17-cv-03203-L-BT Document 3 Filed 11/22/17                             Page 58 of 110 PageID 62
                                                        MH Progress Note

                                                                       Name:    Sims, Steven
                                                                  Record No:    40170242
   Tvletroca:re                                                         DOB : 02/18/1970                    Age: 46
       SF.RV l CF.S
                                                            Attend/Clinician: Scheen, Jerry
 Metrocare - the provider of choice
                                                           Primary/Clinician: Askew, Alison
                                   ########                        RU/Dent. : 534               Lifenet Brid!!e Svcs


              Procedure: 3993               MHOutreach
         Start/End Time: 1/6/17 8:10am             to 1/6/17 8:40am                                    Status:   Completed
       Billable Duration: 30    Type:       Minutes         POS: Office
                  CSPP: MH                  LIFENET              534                SPA
                  Status: Completed and Signed
               Clinician: Alison Askew
                 Billing: Alison Askew
                                        Contact With Ind- in the office- session in english- denies SIIID
                                          Metrocarey
                                            Behavior QMHP met with individual to refer and coordinate services. Individual
                                                     doesnt meet criteria for one of the diagnosis cover by northstar.
                                          Prompting 1
                                         Interv Resp QMHP prompted individual to discuss their presented needs, Steven states
                                                     he needs to find another place to live, and find another counselor. Steven
                                                     reports he is having a difficult time getting to his current therapist, and
                                                     missed his last appointment with her due to missing the bus. He expressed
                                                     interested in seeing a therapist that is closer to him. QMHP referred ind.
                                                     to Susan LPC at Parkland Clinic. QMHP instructed individual to go to the
                                                     parkland clinic after his MH appointment to schedule an appointment
                                                     with Susan as soon as he can. Individausl also stated he needs to get a
                                                     physical, QMHP referred individual to make an appt with the Parkland
                                                     doctor while he schedules an appt with Susan. QMHP reviewed and
                                                     discussed information and resources/services concerning Metrocare MH
                                                     clinic, shelter and homeless services, housing like the pathways program,
                                                     and employment programs like WorkPath through CitySquare.
                                         Prog Assess Individual states he appecriates the help and will continue to use the
                                                     resources he has to reach his goal of finding a nearby therapist, and
                                                     applying for housing.
                                            Plan Rec Individual doesnt meet criteria for one of the diagnosis cover by northstar.
                                                     Steven was encouraged to return to MH clinic should he feel the need for
                                                     MH services/assessment.
       Doc 14277185Electronically Signed on Jan 6 2017 10:57AMby AUTHOR Alison Askew, Qualified Mental Health
       Professional - Bachelors, Title: Qualified Mental Health Prof
       DMS Staff ID #: 206714




Print Date: 01/25/2017                                                                                                        Page 1 of 1
            Case 3:17-cv-03203-L-BT Document 3 Filed 11/22/17                                           Page 59 of 110 PageID 63
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                 I anuary 26, 20 17



                 Ms. Heather Silver
                 Assistant City Attorney
                 Office ofthe City Attorney
                 City of Dallas
                 1500 Marilla Street, Room 7DN
                 Dallas, Texas 75201

                                                                                                                   OR2017-01785'

                 Dear Ms. Silver:

                 You ask whether certain information is subject to required public disclosure under the
                 Public Information Act (the "Act"), chapter 5 52 of the Government Code. Your request was
                 assigned ID# 642802.

                 The City of Dallas (the "city") received a request for specified security video and computer
                 activity and usage from the I. Erik Johnson Library on a specified date. You state the city
                 does not have any information responsive to a portion of the request. 1 You claim the
                 submitted information is excepted from disclosure under section 552.124 of the Government
                 Code. We have considered the exception you claim and reviewed the submitted
                 representative sample of information.2



                             1
                          The Act does not require a governmental body that receives a request for information to create
                 information that did not exist \vhen the request was received. See Econ. Opportunities Dev. Corp. v.
                 Bustamante, 562 S. W.2d 266 (Tex. Civ. App .-San Antonio 1978, writ dism' d) ; Open Records Decision
                 Nos. 605 at 2 ( 1992), 563 at 8 ( 1990), 555 at 1-2 ( 1990), 452 at 3 ( 1986), 362 at 2 ( 1983 ).

                           "We assume that the "representative sample" of ~ecords submitted to this office is truly representative
                 of the requested records as a whole. See Open Records Decision Nos. 499 (1988), 497 (1988) . This open
                 records letter does not reach, and therefore does not authorize the withholding of, any other requested records
                 to the extent that those records contain substantially different types of information than that submitted to.this
                 office.




                        P_ost Office Box 12548, :\.ustin, Texas 78711-2548 • (512) 463-2100 • www.texasattorneygeneral.gov

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     b,     • A
          ' Ms.,Heather Silver - Page 2




           Section 5 52.124 of the Government Code makes confidential, with certain exceptions that
           are not applicable here, "[a] record of a library or library system, supported in \vhole or in
           pa1t by public funds, that identifies or serves to identify a person who requested, obtained.
           or used a library material or service[.]" Gov't Code§ 552.124(a)-(b); see also Open Records
           Decision No. 100 at 3 (1975) (identifying information oflibrary patrons in connection with
           object of their attentions is confidential by constitutional law). Upon review, we tind some
           of the submitted information identities individuals who requested, obtained, or used library
           materials or services; therefore, the city must withhold this information under
           section 552.124 of the Government Code. However, you have failed to demonstrate the
           remaining information, which we have indicated, specifically identifies or serves to identify
           a person who requested, obtained, or used a library material or service, and the city may not
           withhold it under section 552.124. The city must release the information we have indicated.

           This letter ruling is limited to the particular information at issue in this request and limited
           to the facts as presented to us; therefore, this ruling must not be relied upon as a previous
           detern1ination regarding any other information or any other circumstances.

           This ruling triggers important deadlines regarding the rights and responsibilities of the
           governmental body and of the requestor. For more infonnation concerning those rights
           and responsibilities, please visit our website at http ://w\\'W.texasattorney!!eneral.goviopen/
           orl ruling info.shtml, or call the Office of the Attorney General's Open Government
           Hotline, toll free, at (877) 673-6839. Questions concerning the allowable charges for
           providing public infonnation under the Act may be directed to the Office of the Attorney
           General , toll free, at (888) 672-6787.

           Sincerely,

          ·-pc{._~ ~· ltL{r
           Paige Lay
           Assistant Attorney General
           Open Records Division

           PL!som

           Ref:    ID# 642802

           Enc.    Submitted documents

           c:      Requestor
                   (w/o enclosures)




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        WebQA- DALLASTX- Heather Silver                                                                                                                                       Page 1 of2


        C001699·110216 - Open Records Request

              Open Records Request Details



                 Open Records Request Details




              Please be as specific as possible, including dates, names, numbers, or other identifiers that will assist in locating the information you
              seek. Examples: "I hereby request the City's file on [event, project, incident, etc.]" "I need Police report (number], dated (date], and
              involving [description and date]". "I am requesting a certificate of occupancy for [X address]."

               Describe the document(s) you are                I hereby request the City's security video of the J. Erik Johnson Library's first and third noor
               requesting:                                     entrance, elevator, lobby, and computer areas for Sunday, October 30, 2016 between the
                                                               hours of 1pm-5pm. Also, if available, a copy of the computer activity and usage of third noor
                                                               computers number 15 and 16 ..
               Preferred Method to Receive                     Pick-Up Copies
               Documents:


              Department with Record(s)


              Message History
         ---- - · -·- - -- - -·-····- ·· ---- · ·•· ····· ·· - - -   -    -·- ·-·· · ···--···· ·- - -·- -   --- -·- - - ·-   -··-    ·-- --·-   -·- -···-·--·-- --- -- ···-·-··---- -·- ···-1
                                                                                                                                                                                              !
              Date

              On 11/2/2016 9:32 :28 AM, Open Records Distrolist wrote:
         I    Dear Steven Sims:

              Thank you for your interest in public                      recor~s of the City of Dallas. Your request has been received and .is
         I being processed in accordance with Chapter 552 of Texas Government Code, the Public Information Act.
         I Your request was received in th is office on 11/2/2016 and given the                                                     reference number: C001699-:11 0216 for
         1    tracking purposes.
         ! Records Requested : I hereby request the City's security video of the J. Erik Johnson Library's first and third
         i floor entrance, elevator, lobby, and computer areas for Sunday, October 30, 2016 between the hours of
         i 1pm-5pm. Also , if available, a copy of the computer activity and usage of third floor computers number 15
         1
              and 16..                                                                                                                                                                    I
         j Your request will be sent to the relevant City department(s) to locate the information and determine any costs that may be due. You                                            I
        i will receive an email when your request has been completed. If your request is received on the weekend or after business hours, it will                                         1
        l be processed the next business day.                                                                                                     j
        I!    You can monitor the progress of your request at the link below and you'll receive an email when your
              request has been completed. Again, thank you for using the Public Records Center.                                                                                           II
        II                                                                                                                                                                                I
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        I City of Dallas                                                                                                                                                                  I
        I.                                                                                                                                                                                .
        I To monitor the progress or update this request please log into the Public Records Center.                                                                                       I
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              On 11/2/2016 9:32:27 AM, wrote:
        j Request was created by customer                                                            -- - - - - - - - - - - - - - - - - - - - - - - - -
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              Request Details


               Reference No:                     C001699-110216
               Create Date:                      11/2/2016 9:32 AM
               Update Date:                      11/4/2016 2:15 PM


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